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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

MALEEHA AHMAD, et al.,                    )
                                          )
                    Plaintiffs,           )
                                          )
      V.                                  )       No. 4:17-cv-2455 MTS
                                          )
CITY OF ST. LOUIS, MISSOURI,              )
                                          )
                     Defendant.           )

                                  CONSENT JUDGMENT

      This matter comes before the Court on the joint motion of Plaintiffs, Maleeha

Ahmad, W. Patrick Mobley, and Pamela Lewczuk~ and Defendant, City of St. Louis,

Missouri, for approval of consentjudgment. For the purpose of settlement, and without any

admission of liability, unlawful conduct, or wrongdoing, Plaintiffs and Defendant have

agreed that this consent judgment is in the best interests of the Plaintiffs, the Defendant,

and the community, and that this consent judgment will enhance the vital need for puhlic

confidence in the Defendant's Division of Police and will have the effect of promoting

Defendant's commitment to protecting the constitutional rights of all persons engaged in

peaceful expressive activity within the City of St. Louis. Plaintiffs and Defendant agree

that this Consent Judgment is intended to apply for the benefit of all members of the

public as third-party beneficiaries of the prospective relief provided herein. In

consideration of this consent judgment, Plaintiffs herein expressly waive any claim for

damages by reason of any allegations of the amended complaint.

       Accordingly, the Court now enters said judgment as follows:
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       IT IS HEREBY ORDERED that, by consent, the class allegations are stricken

from the amended complaint herein; and

       IT IS HEREBY FURTHER ORDERED that the City of St. Louis and its officers,

agents, servants, and employees, as well as other persons who are in active concert or

participation with the City of St. Louis or its officers, agents, servants, or employees, are

enjoined from enforcing or threatening to enforce any rule, policy, or practice that grants

the police the authority or discretion to:

       1.     Enforce or threaten to enforce any ordinance of the City of St. Louis for the

purpose of punishing persons for exercising their constitutional rights to engage in

expressive activity;

       2.     Use or threaten to use chemical agents, including, but not limited to,

mace/oleoresin capsicum spray or mist/pepper spray/pepper gas, tear gas, skunk, inert

smoke, pepper pellets, xylyl bromide and similar substances (collectively "chemical

agents"), whatever the method of deployment, against any person engaged in expressive,

non-violent activity in the City of St. Louis in the absence of probable cause to arrest the

person and without first issuing clear and unambiguous warnings that the person is subject

to arrest and such chemical agents will be used and providing the person sufficient

opportunity to heed the warnings and comply with lawful law enforcement commands as

authorized in paragraph 3 below;

       3.      Issue orders or use chemical agents, whatever the method of deployment, for

the purpose of dispersing person(s) engaged in expressive, non-violent activity in the City

of St. Louis that is in contravention of law without first:

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      a. specifying with reasonable particularity the area from which dispersal is ordered;

      b. issuing audible and unambiguous orders in a manner designed to notify all

            persons within the area that dispersal is required;

      c. providing sufficient warnings of the consequences of failing to disperse,

            including, where applicable, that chemical agents will be used;

      d. providing a sufficient and announced amount of time of not less than five

            minutes after the issuance of the dispersal order in which to heed the warnings

            and exit the area;

       e. announcing and ensuring a means of safe egress from the area that is actually

            available to all person(s); and

       f.   stating that the refusal to disperse will subject them to arrest; or

      4.       Use or threaten to use chemical agents, whatever the method of deployment,

against any person engaged in expressive, non-violent activity in the City of St. Louis, for

the purpose of punishing the person for exercising constitutional rights;

       5.      Declare an unlawful assembly in cases involving persons engaged in

constitutionally protected expressive activity only with the express permission and

approval of the Police Commissioner, the Assistant Commissioner, or the designated

incident commander (who shall hold the rank of Captain or above or is the lieutenant in

command of CDT).

       6.      Provided, however, that paragraphs 2 and 3 above shall not apply to

situations where law enforcement officials must defend themselves or other persons or

property against imminent threat of violence or must clear a means of ingress or egress to

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a hospital, police station, fire station, or other public safety installation to allow immediate

access to police, fire or other emergency personnel; and provided fi1rther, that "dispersal"

as used herein shall mean to break up in random fashion so as to cease functioning as a unit

or assembly; and

       IT IS HEREBY FURTHER ORDERED that City of St. Louis shall provide and

require training on the contents of this Consent Judgment as well as Special Order 1-06,

Recording of Police Activity, dated November 6, 2013, or its equivalent successor order or

regulation _as follows:

       1.      The contents and an explanation of this Consent Judgement shall be

published to all City of St. Louis police officers within sixty days of this Consent Judgment

and the officers shall be provided an opportunity to raise questions or concerns regarding

the Consent Judgment and their obligations pursuant to it.

       2.      Initial training on the requirements of this Consent Judgment as well as

Special Order 1-06 shall be completed within 30 days of the date hereof, utilizing the

SLMPD "PASS" system; in-person training on the requirements of this Consent Judgment

for officers of the rank of lieutenant and above shall be completed within 90 days of the

date hereof.

       3.      Annual in-service training on the requirements of this Consent Judgment and

Special Order 1-06 shall be completed as part of the regular in-service training conduct~d

through the Police Academy for all officers.

       4.      Police Officer trainees shall be instructed of the requirements of this Consent

Judgment and Special Order 1-06 as part of basic training; and

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       IT IS HEREBY FURTHER ORDERED that, in addition to training with regard

to the terms of this Consent Judgment, Defendant shall include in Police Academy training

the following measures to ensure that all Division of Police personnel respect the First

Amendment rights of all persons, including, but not necessarily limited to:

       1.      Training regarding the First Amendment rights of all persons, including:

       a.      The right to observe and record officers in the public discharge of their duties

in all traditionally public spaces, including sidewalks, parks, and locations of public

protests, as well as any other areas where individuals otherwise have a legal right to be

present, including an individual's home, vehicle, or business and common areas of public

and private facilities and buildings;

       b.      The right to criticize or complain about police conduct without being subject

to retaliation; and,

       c.      The right to engage in public protest that does not violate state or federal law.

       2.      Training to address what conduct is considered "obstruction" or

"interference," with specific examples, to ensure that Division of Police officers do not

unreasonably claim that an individual's presence amounts to the offense of obstructing

traffic or interfering with a law enforcement officer, or otherwise violates the law.

       3.      Training to ensure that Division of Police officers permit any individual to

record officer activity by camera, video recorder, cell phone recorder, or any other means,

except when there is a clear threat to the safety of officers, victims, or other persons, and

to ensure that officers understand that the use of a recording device during a police

encounter shall not in itself be considered a threat to officer safety and thus shall not be a

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basis to require a person to refrain from recording or to put away his or her recording ·

·device, as long as the person recording is in a lawful location at a reasonable distance from

the officer and any victim or arrestee; and

       IT IS HEREBY FURTHER ORDERED that the Division of Police shall require

all officers assigned to policing persons engaged in expressive activity (including but not

limited to CDT and bicycle officers), to visibly display their identification which may

include name, DSN, or designated call sign (a unique identifier assigned exclusively to an

individual officer for purposes of radio communication during assigned duties), and local

law enforcement affiliation as part of the unifom1. Supervisors shall inspect personnel at

roll call vrior to deployment of CDT or other units to ensure that officers under their

command are complying with this requirement. An officer's repeated failure to display

such identification without justification or a supervisor's repeated failure to inspect the

display of identification of officers under his or her command will require an investigation

and may result in discipline; and

       IT IS HEREBY FURTHER ORDERED that the Division of Police shall, within

90 days of the date hereof, make publicly available on-line all policies, procedures, special

and temporary orders, and police manuals, consistent with the Missouri Sunshine Law,

§610.010, et seq., that pertain to use of force, including use of chemical munitions or

chemical agents, . and to policing of parades, protests, demonstrations, or assemblies;

·provided, that nothing herein shall require publication of information pertaining to specific

tactics to be used with respect to past or future events such as execution of search or arrest

warrants or control of specific parades, protests, demonstrations, or assemblies;

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      IT IS HEREBY FURTHER ORDERED that this Consent Judgment may be

modified pursuant to Federal Rule of Civil Procedure 60(b) and that for purposes of Rule

60(b)(5) and (6) the repeal of, passage of, or amendments to any ordinance, rule, or policy

pertinent to this Consent Judgment may constitute grounds for seeking relief from

judgment, including modification to or vacatur of this Consent Judgment; and

       IT IS HEREBY FURTHER ORDERED that the preliminary injunction bond is

discharged, and the parties shall file a notice within fourteen days of entry of this Consent

Judgment indicating whether they have reached an agreement regarding atton1eys' fees and

costs and, if no agreement is reached, Plaintiffs shall file their motion for attorneys' fees

and bill of costs no later than twenty-eight days after entry of this Consent Judgment; and

       IT IS HEREBY FURTHER ORDERED that this Com1 retains jurisdiction to

enforce this Consent Judgment until its expiration; and

       IT IS HEREBY FINALLY ORDERED that this consent judgment shall tenninate

on a date not later than five years from the date hereof, unless extended by agreement of

the parties or by order of Court for good cause shown, but no single court-ordered extension

shall exceed two years.



                                                          For Defendant:




                                                          Matt Moil(, City Counselor

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                                                  [2h..J-~
                                                 Robert H. Dierker
                                                 Associate City Counselor
                                                 Attorneys for Defendant




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